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1N THE UNITED sTATEs DlsTRiCT COURT 95 iii°ii 25 eli iii 1
FOR THE WESTERN DISTRICT OF TENNESSEE

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WESTERN DIVISION CLER;"<, wish §§ 9 _

W‘f}. OF TN, tai`r`;\'v"iPHlS
BRIGITTE FLACK, )
)
Plaintiff, )
)

v. ) Civil No. 04-2455

)
JO ANNE B. BARNHART, )
Commissioner of the Social )
Security Administration, )
)
Defendant. )

ORDER OF REMAND

Pursuant to the power of this court to enter a judgment affirming, modifying, or reversing the
Commissioner's decision with remand in Social Security actions under sentence four of section
205(g) of the Social Security Act, 42 U.S.C. § 405(g), and in light of the Commissioner'S motion to
remand this action, this case is hereby remanded pursuant to sentence four of 42 U.S.C. § 405(g).
Upon remand, the administrative law judge (“ALJ”) Will issue a new decision and do the following:

l . Reconcile the difference between Dr. Cole’S findings and his residual functional capacity
finding;

2. Re-evaluate the opinion ofDr. Baker, Plaintiff’ s treating psychiatrist, citing to specific
evidence of record to support his opinion regarding the weight to be given to Dr. Bal<er’s opinion
lf the ALJ believes that Dr. Baker has not properly interpreted the meaning of the word “marked”
in his findings, he should recontact him and clarify this issue. g 20 C.F.R. § 416.912(e). Even if
Dr. Baker’s opinion is not entitled to controlling weight, the ALJ should consider what weight the

opinion is entitled to using the factors contained in 20 C.F.R. § 416.927;

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3. Thc ALJ Will update the record by requesting the treating and examining sources,
including Drs. Cole and Baker, submit additional evidence and further clarification of their opinions,
including medical source statements, about what Plaintiff can still do despite her impairments;

4. The ALJ will further evaluate Plaintiff" s mental impairments in accordance with 20 C.F.R.
§ 416.920a and provide sufficient rationale for the findings made in his decision, and in so doing,
he should further evaluate all of the evidence of record;

5. The ALJ Will obtain evidence from a medical expert to clarify the nature and severity of
Plaintiff’ s impainnents;

6. The ALJ will obtain testimony from a vocational expert

Based on the foregoing, this Court hereby enters aj udgment reversing the decision of the ALJ
and remanding this case to the Commissioner pursuant to sentence four of 42 U.S.C. § 405(g). ge
Melkonyan v. Sullivan, 501 U.S. 89, l ll S.Ct. 2157 (1991); Shalala v. Schaefer, 509 U.S. 292, 113

S.Ct. 2625 (1993). Upon remand, the Commissioner shall take action consistent With this order.

so oRDERED this day ofM, 2005.

    

B RNICE B. ONALD
ED STATES DISTRICT COURT JUDGE

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CONSENTED TO AND APPROVED BY:

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Honorable Bernice Donald
US DISTRICT COURT

